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             EXHIBIT D
                     Google Terms of Service
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   GOOGL E TERM S OF SERVICE



   Effective May 22, 2024 | Archived versions




   What’s covered in these terms

   We know it’s tempting to skip these Terms of
   Service, but it’s important to establish what you
   can expect from us as you use Google services,
   and what we expect from you.
   These Terms of Service reflect the way Google’s business works, the laws that apply to
   our company, and certain things we’ve always believed to be true. As a result, these Terms
   of Service help define Google’s relationship with you as you interact with our services. For
   example, these terms include the following topic headings:


        What you can expect from us, which describes how we provide and develop our
        services


        What we expect from you, which establishes certain rules for using our services


        Content in Google services, which describes the intellectual property rights to the
        content you find in our services — whether that content belongs to you, Google, or
        others


        In case of problems or disagreements, which describes other legal rights you have,
        and what to expect in case someone violates these terms


   Understanding these terms is important because, by accessing or using our services
   (whether you’re signed in to a Google account or not), you’re agreeing to these terms.


   Besides these terms, we also publish a Privacy Policy. We encourage you to read it to
   better understand how you can update, manage, export, and delete your information.




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   Terms


   Service provider
   Google services are provided by, and you’re contracting with:


   Google LLC
   organized under the laws of the State of Delaware, USA, and operating under the laws of
   the USA


   1600 Amphitheatre Parkway
   Mountain View, California 94043
   USA




   Age requirements
   If you’re under the age required to manage your own Google Account, you must have
   your parent or legal guardian’s permission to use a Google Account. Please have your
   parent or legal guardian read these terms with you.


   If you’re a parent or legal guardian, and you allow your child to use the services, then
   these terms apply to you and you’re responsible for your child’s activity on the services.


   Some Google services have additional age requirements as described in their service-
   specific additional terms and policies.




   Your relationship with Google

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   These terms help de ne the relationship between you and Google. When we speak of
   “Google,” “we,” “us,” and “our,” we mean Google LLC and its affiliates. Broadly speaking,
   we give you permission to access and use our services if you agree to follow these terms,
   which reflect how Google’s business works and how we earn money.




   What you can expect from us

   Provide a broad range of useful services

   We provide a broad range of services that are subject to these terms, including:


        apps and sites (like Search and Maps)


        platforms (like Google Shopping)


        integrated services (like Maps embedded in other companies’ apps or sites)


        devices (like Google Nest and Pixel)


   Many of these services also include content that you can stream or interact with.


   Our services are designed to work together, making it easier for you to move from one
   activity to the next. For example, if your Calendar event includes an address, you can click
   on that address and Maps can show you how to get there.




   Develop, improve, and update Google services

   We’re constantly developing new technologies and features to improve our services. For
   example, we use artificial intelligence and machine learning to provide you with
   simultaneous translations, and to better detect and block spam and malware. As part of
   this continual improvement, we sometimes add or remove features and functionalities,
   increase or decrease limits to our services, and start offering new services or stop offering
   old ones. When a service requires or includes downloadable or preloaded software, that
   software sometimes updates automatically on your device once a new version or feature
   is available. Some services let you adjust your automatic update settings.



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   If we make material changes that negatively impact your use of our services or if we stop
   offering a service, we’ll provide you with reasonable advance notice, except in urgent
   situations such as preventing abuse, responding to legal requirements, or addressing
   security and operability issues. We’ll also provide you with an opportunity to export your
   content from your Google Account using Google Takeout, subject to applicable law and
   policies.




   What we expect from you

   Follow these terms and service-specific additional terms
   The permission we give you to access and use our services continues as long as you
   comply with:


        these terms


        service-specific additional terms, which could, for example, include things like
        additional age requirements


   You also agree that our Privacy Policy applies to your use of our services. We also provide
   resources like the Copyright Help Center, Safety Center, Transparency Center, and
   descriptions of our technologies from our policies site to answer common questions and
   to set expectations about using our services. Finally, we may provide specific instructions
   and warnings within our services – such as dialog boxes that alert you to important
   information.


   Although we give you permission to use our services, we retain any intellectual property
   rights we have in the services.




   Respect others
   We want to maintain a respectful environment for everyone, which means you must
   follow these basic rules of conduct:


        comply with applicable laws, including export control, sanctions, and human
        trafficking laws


        respect the rights of others, including privacy and intellectual property rights



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        don’t abuse or harm others or yourself (or threaten or encourage such abuse or
        harm) — for example, by misleading, defrauding, illegally impersonating, defaming,
        bullying, harassing, or stalking others


   Our service-specific additional terms and policies, such as our Generative AI Prohibited
   Use Policy, provide additional details about appropriate conduct that everyone using
   those services must follow. If you find that others aren’t following these rules, many of
   our services allow you to report abuse. If we act on a report of abuse, we also provide the
   process described in the Taking action in case of problems section.




   Don’t abuse our services

   Most people who access or use our services understand the general rules that keep the
   internet safe and open. Unfortunately, a small number of people don’t respect those rules,
   so we’re describing them here to protect our services and users from abuse. In that spirit:

   You must not abuse, harm, interfere with, or disrupt our services or systems — for
   example, by:


        introducing malware


        spamming, hacking, or bypassing our systems or protective measures


        jailbreaking, adversarial prompting, or prompt injection, except as part of our safety
        and bug testing programs


        accessing or using our services or content in fraudulent or deceptive ways, such as:


             phishing


             creating fake accounts or content, including fake reviews


             misleading others into thinking that generative AI content was created by a
             human


             providing services that appear to originate from you (or someone else) when
             they actually originate from us


        providing services that appear to originate from us when they do not


        using our services (including the content they provide) to violate anyone’s legal
        rights, such as intellectual property or privacy rights


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        reverse engineering our services or underlying technology, such as our machine
        learning models, to extract trade secrets or other proprietary information, except as
        allowed by applicable law


        using automated means to access content from any of our services in violation of
        the machine-readable instructions on our web pages (for example, robots.txt files
        that disallow crawling, training, or other activities)


        using AI-generated content from our services to develop machine learning models or
        related AI technology


        hiding or misrepresenting who you are in order to violate these terms


        providing services that encourage others to violate these terms




   Permission to use your content

   Some of our services are designed to let you upload, submit, store, send, receive, or share
   your content. You have no obligation to provide any content to our services and you’re
   free to choose the content that you want to provide. If you choose to upload or share
   content, please make sure you have the necessary rights to do so and that the content is
   lawful.




             License
             Your content remains yours, which means that you retain any
             intellectual property rights that you have in your content. For
             example, you have intellectual property rights in the creative content
             you make, such as reviews you write. Or you may have the right to
             share someone else’s creative content if they’ve given you their
             permission.


             We need your permission if your intellectual property rights restrict
             our use of your content. You provide Google with that permission
             through this license.




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            What’s covered

            This license covers your content if that content is protected by
            intellectual property rights.




            What’s not covered

                 This license doesn’t affect your privacy rights — it’s only about
                 your intellectual property rights


                 This license doesn’t cover these types of content:


                           publicly-available factual information that you provide,
                           such as corrections to the address of a local business.
                           That information doesn’t require a license because it’s
                           considered common knowledge that everyone’s free to
                           use.


                           feedback that you offer, such as suggestions to
                           improve our services. Feedback is covered in the
                           Service-related communications section below.




            Scope

            This license is:


                 worldwide, which means it’s valid anywhere in the world


                 non-exclusive, which means you can license your content to
                 others


                 royalty-free, which means there are no monetary fees for this
                 license




            Rights

            This license allows Google to:


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                 host, reproduce, distribute, communicate, and use your content
                 — for example, to save your content on our systems and make
                 it accessible from anywhere you go


                 publish, publicly perform, or publicly display your content, if
                 you’ve made it visible to others


                 modify and create derivative works based on your content,
                 such as reformatting or translating it


                 sublicense these rights to:


                          other users to allow the services to work as designed,
                          such as enabling you to share photos with people you
                          choose


                          our contractors who’ve signed agreements with us that
                          are consistent with these terms, only for the limited
                          purposes described in the Purpose section below




            Purpose

            This license is for the limited purpose of:


                 operating and improving the services, which means allowing
                 the services to work as designed and creating new features
                 and functionalities. This includes using automated systems
                 and algorithms to analyze your content:


                          for spam, malware, and illegal content


                          to recognize patterns in data, such as determining
                          when to suggest a new album in Google Photos to keep
                          related photos together


                          to customize our services for you, such as providing
                          recommendations and personalized search results,
                          content, and ads (which you can change or turn off in
                          Ads Settings)
                 This analysis occurs as the content is sent, received, and when
                 it is stored.



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                 using content you’ve shared publicly to promote the services.
                 For example, to promote a Google app, we might quote a
                 review you wrote. Or to promote Google Play, we might show a
                 screenshot of the app you offer in the Play Store.


                 developing new technologies and services for Google
                 consistent with these terms




            Duration

            This license lasts for as long as your content is protected by
            intellectual property rights.


            If you remove from our services any content that’s covered by this
            license, then our systems will stop making that content publicly
            available in a reasonable amount of time. There are two exceptions:


                 If you already shared your content with others before removing
                 it. For example, if you shared a photo with a friend who then
                 made a copy of it, or shared it again, then that photo may
                 continue to appear in your friend’s Google Account even after
                 you remove it from your Google Account.


                 If you make your content available through other companies’
                 services, it’s possible that search engines, including Google
                 Search, will continue to find and display your content as part of
                 their search results.




   Using Google services

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   Your Google Account
   If you meet these age requirements you can create a Google Account for your
   convenience. Some services require that you have a Google Account in order to work —
   for example, to use Gmail, you need a Google Account so that you have a place to send
   and receive your email.


   You’re responsible for what you do with your Google Account, including taking
   reasonable steps to keep your Google Account secure, and we encourage you to regularly
   use the Security Checkup.




   Using Google services on behalf of an organization or
   business
   Many organizations, such as businesses, non-profits, and schools, take advantage of our
   services. To use our services on behalf of an organization:


        an authorized representative of that organization must agree to these terms


        your organization’s administrator may assign a Google Account to you. That
        administrator might require you to follow additional rules and may be able to access
        or disable your Google Account.




   Service-related communications
   To provide you with our services, we sometimes send you service announcements and
   other information. To learn more about how we communicate with you, see Google’s
   Privacy Policy.


   If you choose to give us feedback, such as suggestions to improve our services, we may
   act on your feedback without obligation to you.




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   Content in Google services


   Your content
   Some of our services allow you to generate original content. Google won’t claim
   ownership over that content.


   Some of our services give you the opportunity to make your content publicly available —
   for example, you might post a product or restaurant review that you wrote, or you might
   upload a blog post that you created.


        See the Permission to use your content section for more about your rights in your
        content, and how your content is used in our services


        See the Removing your content section to learn why and how we might remove user-
        generated content from our services


   If you think someone is infringing your intellectual property rights, you can send us notice
   of the infringement and we’ll take appropriate action. For example, we suspend or close
   the Google Accounts of repeat copyright infringers as described in our Copyright Help
   Center.




   Google content
   Some of our services include content that belongs to Google — for example, many of the
   visual illustrations you see in Google Maps. You may use Google’s content as allowed by
   these terms and any service-specific additional terms, but we retain any intellectual
   property rights that we have in our content. Don’t remove, obscure, or alter any of our
   branding, logos, or legal notices. If you want to use our branding or logos, please see the
   Google Brand Permissions page.




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   Other content
   Finally, some of our services give you access to content that belongs to other people or
   organizations — for example, a store owner’s description of their own business, or a
   newspaper article displayed in Google News. You may not use this content without that
   person or organization’s permission, or as otherwise allowed by law. The views expressed
   in other people or organizations’ content are theirs, and don’t necessarily reflect Google’s
   views.




   Software in Google services
   Some of our services include downloadable or preloaded software. We give you
   permission to use that software as part of the services.


   The license we give you is:


        worldwide, which means it’s valid anywhere in the world


        non-exclusive, which means that we can license the software to others


        royalty-free, which means there are no monetary fees for this license


        personal, which means it doesn’t extend to anyone else


        non-assignable, which means you’re not allowed to assign the license to anyone else


   Some of our services include software that’s offered under open source license terms that
   we make available to you. Sometimes there are provisions in the open source license that
   explicitly override parts of these terms, so please be sure to read those licenses.




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   You may not copy, modify, distribute, sell, or lease any part of our services or software.




   In case of problems or disagreements


   Warranty disclaimer
   We built our reputation on providing useful, reliable services like Google Search and Maps,
   and we’re continuously improving our services to meet your needs. However, for legal
   purposes, we offer our services without warranties unless explicitly stated in our service-
   specific additional terms. The law requires that we explain this using specific legal
   language and that we use capital letters to help make sure you see it, as follows:


   TO THE EXTENT ALLOWED BY APPLICABLE LAW, WE PROVIDE OUR SERVICES “AS IS”
   WITHOUT ANY EXPRESS OR IMPLIED WARRANTIES, INCLUDING THE IMPLIED
   WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, AND
   NON-INFRINGEMENT. FOR EXAMPLE, WE DON’T MAKE ANY WARRANTIES ABOUT THE
   CONTENT OR FEATURES OF THE SERVICES, INCLUDING THEIR ACCURACY, RELIABILITY,
   AVAILABILITY, OR ABILITY TO MEET YOUR NEEDS.


   DON’T RELY ON THE SERVICES FOR MEDICAL, LEGAL, FINANCIAL, OR OTHER
   PROFESSIONAL ADVICE. ANY CONTENT REGARDING THOSE TOPICS IS PROVIDED FOR
   INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR ADVICE FROM A
   QUALIFIED PROFESSIONAL.




   Liabilities

   For all users


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   Both the law and these terms try to strike a balance as to what you or Google can claim
   from the other in case of problems. That’s why the law requires everyone to be
   responsible for certain liabilities — but not others — under these terms.


   These terms only limit our responsibilities as allowed by applicable law. These terms don’t
   limit liability for gross negligence or willful misconduct.


   To the extent allowed by applicable law:


        Google is liable only for its breaches of these terms or applicable service-specific
        additional terms


        Google isn’t liable for:


                 loss of profits, revenues, business opportunities, goodwill, or anticipated
                 savings


                 indirect or consequential losses


                 punitive damages


        Google’s total liability arising out of or relating to these terms is limited to the greater
        of (1) $200 or (2) the fees paid to use the relevant services in the 12 months before
        the dispute




   For business users and organizations only

   If you’re a business user or organization:


        To the extent allowed by applicable law, you’ll indemnify Google and its directors,
        officers, employees, and contractors for any third-party legal proceedings (including
        actions by government authorities) arising out of or relating to your unlawful use of
        the services or violation of these terms or service-specific additional terms. This
        indemnity covers any liability or expense arising from claims, losses, damages,
        judgments, fines, litigation costs, and legal fees.


        If you’re legally exempt from certain responsibilities, including indemnification, then
        those responsibilities don’t apply to you under these terms. For example, the United
        Nations enjoys certain immunities from legal obligations and these terms don’t
        override those immunities.


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   Taking action in case of problems
   Before taking action as described below, we’ll provide you with advance notice when
   reasonably possible, describe the reason for our action, and give you an opportunity to
   clarify the issue and address it, unless doing so would:


        cause harm or liability to a user, third party, or Google


        violate the law or a legal enforcement authority’s order


        compromise an investigation


        compromise the operation, integrity, or security of our services




   Removing your content

   If any of your content (1) breaches these terms, service-specific additional terms or
   policies, (2) violates applicable law, or (3) could harm our users, third parties, or Google,
   then we reserve the right to take down some or all of that content in accordance with
   applicable law. Examples include child pornography, content that facilitates human
   trafficking or harassment, terrorist content, and content that infringes someone else’s
   intellectual property rights.




   Suspending or terminating your access to Google services

   Without limiting any of our other rights, Google may suspend or terminate your access to
   the services or delete your Google Account if any of these things happen:


        you materially or repeatedly breach these terms, service-specific additional terms or
        policies


        we’re required to do so to comply with a legal requirement or a court order


        your conduct causes harm or liability to a user, third party, or Google — for example,
        by hacking, phishing, harassing, spamming, misleading others, or scraping content
        that doesn’t belong to you




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   For more information about why we disable accounts and what happens when we do,
   see this Help Center page. If you believe your Google Account has been suspended or
   terminated in error, you can appeal.


   Of course, you’re always free to stop using our services at any time. If you do stop using a
   service, we’d appreciate knowing why so that we can continue improving our services.




   Settling disputes, governing law, and courts
   For information about how to contact Google, please visit our contact page.


   California law will govern all disputes arising out of or relating to these terms, service-
   specific additional terms, or any related services, regardless of conflict of laws rules.
   These disputes will be resolved exclusively in the federal or state courts of Santa Clara
   County, California, USA, and you and Google consent to personal jurisdiction in those
   courts.




   About these terms
   By law, you have certain rights that can’t be limited by a contract like these terms of
   service. These terms are in no way intended to restrict those rights.


   These terms describe the relationship between you and Google. They don’t create any
   legal rights for other people or organizations, even if others benefit from that relationship
   under these terms.


   We want to make these terms easy to understand, so we’ve used examples from our
   services. But not all services mentioned may be available in your country.


   If these terms conflict with the service-specific additional terms, the additional terms will
   govern for that service.

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   If it turns out that a particular term is not valid or enforceable, this will not affect any
   other terms.


   If you don’t follow these terms or the service-specific additional terms, and we don’t take
   action right away, that doesn’t mean we’re giving up any rights that we may have, such as
   taking action in the future.


   We may update these terms and service-specific additional terms (1) to reflect changes in
   our services or how we do business — for example, when we add new services, features,
   technologies, pricing, or benefits (or remove old ones), (2) for legal, regulatory, or security
   reasons, or (3) to prevent abuse or harm.


   If we materially change these terms or service-specific additional terms, we’ll provide you
   with reasonable advance notice and the opportunity to review the changes, except (1)
   when we launch a new service or feature, or (2) in urgent situations, such as preventing
   ongoing abuse or responding to legal requirements. If you don’t agree to the new terms,
   you should remove your content and stop using the services. You can also end your
   relationship with us at any time by closing your Google Account. If you close your Google
   Account and then access or use our services without an account, that access and use will
   be subject to the most current version of these terms.




   DEF IN ITION S




   affiliate

   An entity that belongs to the Google group of companies, which means Google LLC and
   its subsidiaries, including the following companies that provide consumer services in the
   EU: Google Ireland Limited, Google Commerce Limited, and Google Dialer Inc.




   business user

   An individual or entity who is not a consumer (see consumer).


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   consumer

   An individual who uses Google services for personal, non-commercial purposes outside of
   their trade, business, craft, or profession. (See business user)




   copyright

   A legal right that allows the creator of an original work (such as a blog post, photo, or
   video) to decide if and how that original work may be used by others, subject to certain
   limitations and exceptions (such as “fair use” and “fair dealing”).




   disclaimer

   A statement that limits someone’s legal responsibilities.




   indemnify or indemnity

   An individual or organization’s contractual obligation to compensate the losses suffered
   by another individual or organization from legal proceedings such as lawsuits.




   intellectual property rights (IP rights)

   Rights over the creations of a person’s mind, such as inventions (patent rights); literary
   and artistic works (copyright); designs (design rights); and symbols, names, and images
   used in commerce (trademarks). IP rights may belong to you, another individual, or an
   organization.




   liability

   Losses from any type of legal claim, whether the claim is based on a contract, tort
   (including negligence), or other reason, and whether or not those losses could have been
   reasonably anticipated or foreseen.



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   organization

   A legal entity (such as a corporation, non-profit, or school) and not an individual person.




   services

   The Google services that are subject to these terms are the products and services listed at
   https://policies.google.com/terms/service-specific, including:


        apps and sites (like Search and Maps)


        platforms (like Google Shopping)


        integrated services (like Maps embedded in other companies’ apps or sites)


        devices and other goods (like Google Nest)


   Many of these services also include content that you can stream or interact with.




   trademark

   Symbols, names, and images used in commerce that are capable of distinguishing the
   goods or services of one individual or organization from those of another.




   warranty

   An assurance that a product or service will perform to a certain standard.




   your content

   Things that you create, upload, submit, store, send, receive, or share using our services,
   such as:


        Docs, Sheets, and Slides you create


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            blog posts you upload through Blogger


            reviews you submit through Maps


            videos you store in Drive


            emails you send and receive through Gmail


            pictures you share with friends through Photos


            travel itineraries that you share with Google




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